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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Amaplat Mauritius Ltd.,
c/o CKLB International Management Ltd.,
P.O. Box 80, Felix House, 24 Dr. Joseph
Riviere Street, Port Louis 11602, Mauritius;
and

Amari Nickel Holdings Zimbabwe Ltd.,            Civil Action No. 1:22-cv-0058
c/o CKLB International Management Ltd.,
P.O. Box 80, Felix House, 24 Dr. Joseph
Riviere Street, Port Louis 11602, Mauritius,

                   Plaintiffs,

       v.

Zimbabwe Mining Development Corporation,
90 Mutare Road, Msasa, Harare, Zimbabwe;

The Chief Mining Commissioner, Ministry of
Mines of Zimbabwe,
6th Floor, ZIMRE Centre, Cnr. Leopold
Takawira Street/Kwame Nkrumah Avenue,
Private Bag 7709, Causeway, Harare,
Zimbabwe;

and the Republic of Zimbabwe,
c/o Head of the Ministry of Foreign Affairs,
Ministry of Foreign Affairs, P.O. Box 4240,
Munhumutapa Building, Cnr. Samora Machel
Avenue/Sam Nujoma Street, Harare,
Zimbabwe

                   Defendants.


                  [PROPOSED] ORDER GRANTING MOTION FOR
               ADMISSION PRO HAC VICE OF JOSEPH M. SANDERSON

       Upon consideration of the Motion for Admission Pro Hac Vice of Joseph M. Sanderson

in the above-caption action, it is hereby

       ORDERED, that the motion is GRANTED; and it is further
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       ORDERED, that Joseph M. Sanderson is hereby admitted pro hac vice to appear and

practice in this Court in the above-captioned action as counsel for Plaintiffs, Amaplat Mauritius

Ltd., and Amari Nickel Holdings Zimbabwe Ltd.

Dated:____________                                   _____________________________




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